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 EEOC Form 161-B (01/2022)            U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
 To:    Chantavious Smith                                                           From:   Atlanta District Office
        256 Country Club Dr                                                                 100 Alabama Street, SW, Suite 4R30
        Jonesburg, GA 30238                                                                 Atlanta, GA 30303



 EEOC Charge No.                                       EEOC Representative                                                  Telephone No.
 846-2022-02763                                        Michelle Wright,                                                     (470) 531-4869
                                                       Investigator

                                                                                            (See also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)
        More than 180 days have passed since the filing of this charge.
        The EEOC is terminating its processing of this charge.



Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.


If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                    On behalf of the Commission

                                                    Digitally Signed By:Darrell Graham
                                                    08/30/2022
 Enclosures(s)                                      Darrell Graham
                                                    District Director


 cc:    Audra Caldwell
        161 Washington St Ste 600
        Conshohocken, PA 19428

        J. Stephen Mixon
        THE MIXON LAW FIRM
        1691 Phoenix Blvd. Suite 150
        Atlanta, GA 30349
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Enclosure with EEOC
Form 161-B (01/2022)

                                          INFORMATION RELATED TO FILING SUIT
                                         UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                       If you also plan to sue claiming violations of State law, please be aware that time limits and other
                              provisions of State law may be shorter or more limited than those described below.)

PRIVATE SUIT RIGHTS                 --   Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA), the
                                         Genetic Information Nondiscrimination Act (GINA), or the Age Discrimination in
                                         Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within 90 days of
the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-day period is over, your right
to sue based on the charge referred to in this Notice will be lost. If you intend to consult an attorney, you should do so promptly.
Give your attorney a copy of this Notice, and its envelope, and tell him or her the date you received it. Furthermore, in order to
avoid any question that you did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this
Notice was mailed to you (as indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate State court
is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Your suit may include any matter alleged in the charge or, to the extent permitted
by court decisions, matters like or related to the matters alleged in the charge. Generally, suits are brought in the State where
the alleged unlawful practice occurred, but in some cases can be brought where relevant employment records are kept, where
the employment would have been, or where the respondent has its main office. If you have simple questions, you usually can
get answers from the office of the clerk of the court where you are bringing suit, but do not expect that office to write your
complaint or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                 --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back pay due
for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For example, if you were
underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit before 7/1/10 – not 12/1/10 -- in order
to recover unpaid wages due for July 2008. This time limit for filing an EPA suit is separate from the 90-day filing period under
Title VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under Title VII, the ADA, GINA
or the ADEA, in addition to suing on the EPA claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year
EPA back pay recovery period.

ATTORNEY REPRESENTATION                       --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction in your case
may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be made to the U.S. District Court
in the form and manner it requires (you should be prepared to explain in detail your efforts to retain an attorney). Requests should
be made well before the end of the 90-day period mentioned above, because such requests do not relieve you of the requirement to
bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                              -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any questions
about your legal rights, including advice on which U.S. District Court can hear your case. If you need to inspect or obtain a copy of
information in EEOC's file on the charge, please request it promptly in writing and provide your charge number (as shown on your
Notice). While EEOC destroys charge files after a certain time, all charge files are kept for at least 6 months after our last action on
the case. Therefore, if you file suit and want to review the charge file, please make your review request within 6 months of this
Notice. (Before filing suit, any request should be made within the next 90 days.)

         IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
